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                 Exhibit 14
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5    Attorneys for Defendants
     ONLINENIC, INC. and DOMAIN ID SHIELD SERVICE
6    CO., LIMITED
7

8                                    UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                          Case No. 19-CV-07071-SVK
     LLC
12                                                          FIRST SUPPLEMENTAL
                       Plaintiffs,                          RESPONSE OF ONLINENIC, INC.
13           v.                                             TO REQUESTS FOR PRODUCTION
                                                            OF DOCUMENTS PROPUNDED BY
14                                                          FACEBOOK, INC. AND
     ONLINENIC, INC. and DOMAIN ID                          INSTAGRAM, LLC.
15   SHIELD SERVICE CO., LIMITED.

16                    Defendants.

17

18
     PROPOUNDING PARTY:                        Facebook, Inc. and Instagram, LLC
19
     RESPONDING PARTY:                         OnlineNIC, Inc.
20
     SET NO.:                                  One (1)
21

22
             Defendant OnlineNIC, Inc. (“OnlineNIC”) hereby responds to the Request for Production
23
     of Documents propounded by Facebook, Inc. and Instagram, LLC (together, the “Plaintiffs”) as
24
     follows:
25
                                          PRELIMINARY STATEMENT
26
             A.       The specific responses as set forth below are for the purposes of discovery only and
27
     OnlineNIC does not intend to waive, but expressly reserves, any and all objections and may have
28
                                                          - 1-
     Facebook, Inc. v. OnlineNIC, Inc.                                                      Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s First Supplemental Responses to Plaintiffs’ Requests for Production of Documents – Set 1
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     ONLINENIC000075). OnlineNIC is not aware of any responsive records within its possession,
1
     custody or control being withheld on the basis of any objection herein.
2
     REQUEST FOR PRODUCTION NO. 24:
3
             All DOCUMENTS relating to the corporate formation and maintenance of DOMAIN ID
4
     SHIELD.
5
     RESPONSE TO REQUEST FOR PRODUCTION NO. 24
6
             ONLINENIC objects to this request as vague, ambiguous, overbroad, irrelevant and unduly
7
     burdensome to the extent that it seeks “all” documents for an unrestricted period of time.
8
     Defendant objects to this Request as overbroad and unduly burdensome, as it is not limited in time
9
     or scope, and thus it is not proportional to the needs of the case. Specifically, Defendant has been
10
     in business for over 20 years, and as such, has collected millions of records over the years,
11
     including a database with millions of records and hundreds of tables, more than 1 million emails
12
     and support tickets, and thousands of bank statements, financial records, invoices and other
13
     business documents, including loose files. The burden and expense of having to review every
14
     record to ensure that “All Documents” have been produced outweighs any potential relevancy of
15
     such records, particularly because OnlineNIC states that it controls Domain ID Shield and runs its
16
     operations and pays its expenses. Accordingly, OnlineNIC has not searched its financial records to
17
     determine what expenses were paid for Domain ID Shield’s formation and maintenance going
18
     back indefinitely, as demanded by Plaintiffs. Subject to the foregoing, see ONLINENIC266956-
19
     ONLINENIC266988, ONLINENIC000001-ONLINENIC000070, ONLINENIC000075),
20
     ONLINENIC258370-ONLINENIC258436. OnlineNIC is not aware of other responsive records
21
     within its possession, custody or control being withheld on the basis of any objection herein.
22
     REQUEST FOR PRODUCTION NO. 25:
23
             All DOCUMENTS relating to the corporate formation and maintenance of ONLINENIC.
24
     RESPONSE TO REQUEST FOR PRODUCTION NO. 25
25
             OnlineNIC objects to this request as vague, ambiguous, overbroad, irrelevant and unduly
26
     burdensome to the extent that it: (a) seeks “all” documents for an unrestricted period of time and,
27
     (b) seeks information not relevant to Plaintiffs’ intellectual property claims. Specifically,
28
                                                         - 15-
     Facebook, Inc. v. OnlineNIC, Inc.                                                      Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s First Supplemental Responses to Plaintiffs’ Requests for Production of Documents – Set 1
         Case 3:19-cv-07071-SI            Document 359-15           Filed 12/01/23        Page 4 of 5


     Defendant has been in business for over 20 years, and as such, has collected millions of records
1
     over the years, including a database with millions of records and hundreds of tables, more than 1
2
     million emails and support tickets, and thousands of bank statements, financial records, invoices
3
     and other business documents, including loose files. The burden and expense of having to review
4
     every record to ensure that “All Documents” have been produced outweighs any potential
5
     relevancy of such records, particularly because OnlineNIC states that it controls Domain ID Shield
6
     and runs its operations and pays its expenses. Accordingly, OnlineNIC has not searched its
7
     financial records to determine what formation and maintenance expenses were paid and when
8
     going back indefinitely, as demanded by Plaintiffs. Subject to the foregoing, see Bates number
9
     ONLINENIC000071-ONLINENIC000074. OnlineNIC is not aware of other responsive records
10
     within its possession, custody or control being withheld on the basis of any objection herein.
11
     REQUEST FOR PRODUCTION NO. 26:
12
             All DOCUMENTS that IDENTIFY officers and/or directors of ONLINENIC.
13
     RESPONSE TO REQUEST FOR PRODUCTION NO. 26
14
             OnlineNIC objects to this request as vague, ambiguous, overbroad, irrelevant and unduly
15
     burdensome to the extent that it: (a) seeks “all” documents for an unrestricted period of time and,
16
     (b) seeks information not relevant to Plaintiffs’ intellectual property claims. Specifically,
17
     Defendant has been in business for over 20 years, and as such, has collected millions of records
18
     over the years, including a database with millions of records and hundreds of tables, more than 1
19
     million emails and support tickets, and thousands of bank statements, financial records, invoices
20
     and other business documents, including loose files. The burden and expense of having to review
21
     every record to ensure that “All Documents” have been produced outweighs any potential
22
     relevancy of such records, particularly because OnlineNIC states that it controls Domain ID Shield
23
     and runs its operations and pays its expenses. Accordingly, OnlineNIC has not searched its
24
     financial records to determine what formation and maintenance expenses were paid going back
25
     indefinitely, as demanded by Plaintiffs. Subject to the foregoing, see Bates numbers
26
     ONLINENIC268777-ONLINENIC268778 and ONLINENIC266989 – ONLINENIC267162.
27

28
                                                         - 16-
     Facebook, Inc. v. OnlineNIC, Inc.                                                      Case No. 19-cv-7071-SVK
     OnlineNIC, Inc.’s First Supplemental Responses to Plaintiffs’ Requests for Production of Documents – Set 1
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